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                                                                   United States District Court
                                                                     Southern District of Texas

                                                                        ENTERED
                    IN THE UNITED STATES DISTRICT COURT             September 10, 2020
                     FOR THE SOUTHERN DISTRICT OF TEXAS              David J. Bradley, Clerk
                              HOUSTON DIVISION



RODNEY ENGEL,                          §
                                       §
                    Plaintiff,         §
                                       §
V.                                     §      CIVIL ACTION NO. H-20-2249
                                       §
HILTON WORLDWIDE d/b/a CONRAD          §
HOTELS & RESORTS and WOODLAKE          §
TRAVEL SERVICES, INC.,                 §
                                       §
                    Defendants.        §


                       MEMORANDUM OPINION AND ORDER


       Plaintiff Rodney Engel ("Plaintiff") sued defendants Hilton

Worldwide Manage Limited ("Hilton Worldwide") and Woodlake Travel

Services, Inc.      ( "Woodlake Travel") (collectively "Defendants") in

the 15 7th District Court of Harris County,            Texas. 1   Defendants

timely removed the action to this court. 2        Pending before the court

are Defendant Hilton Worldwide Manage Limited's Rule 12(b) (2) and

Rule       12 (b)(5) Motion to    Dismiss   ("Hilton's 12(b)(2)      Motion")

(Docket Entry No. 4),      Defendant Hilton Worldwide Manage Limited's

Rule 12(b)(3) Motion to Dismiss for Forum Non Conveniens ("Hilton's


      Plaintiff's Original Petition, Jury Demand and Requests for
       1

Disclosure ("Original Petition"), Exhibit 1 to Notice of Removal,
Docket Entry No. 1-1, p. 4; Notice of Removal, Docket Entry No. 1,
p. 1. All page numbers for docket entries in the record refer to
the pagination inserted at the top of the page by the court's
electronic filing system, CM/ECF.
      Notice of Removal, Docket Entry No. 1, p. 1; see also Amended
       2

Notice of Removal, Docket Entry No. 11, p. 1.
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12 {b)(3) Motion") (Docket Entry No.            5),   Plaintiff's Motion to

Remand     (Docket    Entry   No.   9),   and   Defendant    Woodlake   Travel
Services,    Inc. 's Motion to Dismiss Per Federal Rule of Civil
Procedure 12(b) (6)      ( "Woodlake's 12(b) (6)      Motion") (Docket Entry
No. 19).     For the reasons explained below, Plaintiff's Motion to

Remand will be denied, Hilton's 12(b)(2) Motion will be granted in
part and denied as moot in part, and Hilton's 12(b)(3) Motion and

Woodlake's 12(b) (6) Motion will be denied as moot.


                 I.    Factual and Procedural Background

     Plaintiff traveled to Bora Bora in French Polynesia for a
vacation in June of 2010. 3          Plaintiff hired Woodlake Travel, a
travel agency, to make travel arrangements. 4            Plaintiff stayed at
a hotel operated by Hilton Worldwide, the Conrad Bora Bora Nui
( "the Hotel"), that Woodlake Travel had recommended. 5           On June 19,
2010, Plaintiff went on a hiking adventure called Polynesian Escape
recommended by the Hotel's concierge service. 6             The hike involved
a steep and difficult climb up and descent down a mountain during



     3
      Original Petition, Exhibit 1 to Notice of Removal, Docket
Entry No. 1-1, p. 6.


     5
      Original Petition, Exhibit 1 to Notice of Removal, Docket
Entry No. 1-1, p. 6; Declaration of Rodney Engel, Exhibit A to
Plaintiff's Motion to Remand, Docket Entry No. 9-1, p. 1 1 2.
     6
      Original Petition, Exhibit 1 to Notice of Removal, Docket
Entry No. 1-1, p. 6.
                                      -2-
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which      Plaintiff     fell   off   the    path   and   suffered     injuries. 7

Plaintiff alleges that he was not warned of the risks of the hike
and was not provided proper safety equipment or trained guides. 8
      Plaintiff filed this action against Defendants in state court
on May 11, 2020, alleging negligence. 9             Hilton Worldwide removed
the action to this court on June 25,                 2020,   on the basis of
diversity jurisdiction. 10        Hilton Worldwide is a citizen of the
United Kingdom and Woodlake Travel is a citizen of Texas, but
Defendants contend that Woodlake Travel was improperly joined as a
defendant. 11        Plaintiff filed his Motion to Remand on July 15,
2020. 12        Hilton Worldwide filed an Amended Notice of Removal on
July 17, 2020, 13 and Plaintiff filed a supplement to his motion on
July 31, 2020. 14
      The Defendants have individually moved to dismiss the action
on separate grounds.        Hilton Worldwide filed its motions to dismiss
on the basis of personal jurisdiction, improper service, and forum

      7
          Id.
      8
          Id.
      9
          Id. at 4, 6.
      10
           Notice of Removal, Docket Entry No. 1, p. 3        1   8.

      11   Id. at 1   1 2, 2 1 3, 3 1 8.
      12
           Plaintiff's Motion to Remand, Docket Entry No. 9.
      1
       3   Amended Notice of Removal, Docket Entry No. 11.
      Supplement to Plaintiff's Motion to Remand
      14
                                                                  ( "Plaintiff's
Remand Supplement"), Docket Entry No. 15.
                                       -3-
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non conveniens on July 2, 2020. 15      Plaintiff responded on August 6,

2020, 16 and Hilton replied on August 13, 2020. 17         Woodlake Travel

filed its motion to dismiss for failure to state a claim on

August 7, 2020, 18 and Plaintiff responded on August 25, 2020. 19


                      II.   Plaintiff's Motion to Remand

     Plaintiff contends that the court lacks diversity jurisdiction

over this action because both he and Woodlake Travel are Texas

citizens,     and Woodlake Travel was properly joined.           Defendants

argue that Woodlake Travel was improperly joined and that the court

should therefore only consider Plaintiff's and Hilton Worldwide's

citizenship      in     determining   whether   it   has    subject-matter

jurisdiction.


      Hilton's 12(b)(2) Motion, Docket
     15
                                                 Entry No.     4;   Hilton's
12(b)(3) Motion, Docket Entry No. 5.
      Plaintiff's Response to Defendant Hilton Worldwide Manage
     16

Limited's Motion to Dismiss Under Rule 12(b)(3), Docket Entry
No. 17 ("Plaintiff's 12(b)(3) Response"); Plaintiff's Response to
Defendant Hilton Worldwide Manage Limited's Motion to Dismiss Under
Rules 12(bl (2) and 12(b)(5), Docket Entry No. 18 ("Plaintiff's
12(b)(2) Response").
      Defendant Hilton Worldwide Manage Limited's Reply to
     17

Plaintiff's Response to Defendant's Motion to Dismiss Under
Rule 12(b)(2) and Rule 12(b)(5) ("Hilton's 12(b)(2) Reply"), Docket
Entry No. 24; Defendant Hilton Worldwide Manage Limited's Reply to
Plaintiff's Response to Defendant's Rule 12(b)(3) Motion to Dismiss
for Forum Non Conveniens ("Hilton's 12(b)(3) Reply"), Docket Entry
No. 25.
     18
          Woodlake's 12(b)(6) Motion, Docket Entry No. 19.
      Plaintiff's Response to Defendant Woodlake Travel Services,
     19

Inc.'s Motion to Dismiss Under Rule 12(b)(6) ("Plaintiff's 12(bl (6)
Response"), Docket Entry No. 26.
                                      -4-
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A.    Applicable Law

      Under 28 U.S.C. § 144l(a) any state court civil action over

which a federal court would have original jurisdiction may be
removed from state to federal court.          Federal district courts have
original jurisdiction over civil actions between citizens of
different states where the amount in controversy exceeds $75,000,
exclusive of interest and costs.           28 U.S.C. § 1332(a).    Diversity
of citizenship exists between the parties if each plaintiff has a
different citizenship from each defendant.             Getty Oil Corp.       1   a
Division of Texaco, Inc. v. Insurance Co. of North America, 841
F.2d 1254, 1258 (5th Cir. 1988).
      "Ordinarily, for diversity jurisdiction to lie, there must be
complete diversity between parties, which              'requires that all
persons on one side of the controversy be citizens of different
states than all persons on the other side.'"           Vaillancourt v. PNC
Bank, National Ass'n, 771 F.3d 843, 847 (5th Cir. 2014) (quoting

Harvey v. Grey Wolf Drilling Co., 542 F.3d 1077, 1079 (5th Cir.
2008)).    "There is, however, a 'narrow exception' to that rule for
situations of improper joinder, where, as relevant here, the party
seeking removal (or challenging remand) demonstrates 'that there is
no possibility of recovery by the plaintiff against and in-state
defendant.'"     Vaillancourt, 771 F.3d at 847 (quoting McDonal v.
Abbott Laboratories, 408 F.3d 177, 183 (5th Cir. 2005)).
      Courts use the standard for dismissal for failure to state a
claim under Rule 12(b)(6) to determine whether a defendant has been

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improperly joined. Smallwood v. Illinois Central Railroad Co., 385

F. 3d 568, 573 (5th Cir. 2004) (en bane).          Under that standard, a
plaintiff must plead "enough facts to state a claim to relief that
is plausible on its face"          against each defendant.

Atlantic Corp. v. Twombly. 127 S. Ct. 1955, 1974 (2007).            "Detailed
factual allegations"       are not required,       but a complaint that
establishes the grounds that entitle the plaintiff to relief
"requires more than labels and             conclusions,   and a formulaic
recitation of a cause of action's elements will not do."               Id. at
1959. The court must "accept the plaintiff's well-pleaded facts as
true and view them in the light most favorable to the plaintiff."
Chauvin v. State Farm Fire & Casualty Co., 495 F.3d 232, 237 (5th

Cir. 2007).      The court has discretion to go beyond the pleadings

and consider the existence of relevant "discrete and undisputed

facts."    Smallwood, 385 F.3d at 573-74.


B.    Analysis

      Plaintiff's Original Petition alleges a claim of negligence

against Woodlake Travel.20       Plaintiff argues that Woodlake Travel

may be liable because its recommendation of the Hotel started the
chain of events resulting in his injury.21          Defendants argue that


      original Petition, Exhibit 1 to Notice of Removal, Docket
      20

Entry No. 1-1, p. 6.
       Plaintiff's Motion to Remand, Docket Entry No. 9, p. 5 1 9,
      21

6 1 11; see also Plaintiff's 12 (b) (6) Response, Docket Entry
No. 26, pp. 11-12 111. Because Plaintiff's Motion to Remand turns
                                                    (continued...)
                                     -6-
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the negligence claim against Woodlake Travel fails as a matter of

law because the alleged facts show Woodlake Travel did not breach
a legal duty or proximately cause the injury.22

     A plaintiff alleging negligence must demonstrate the existence
of a duty, breach of that duty, and damages proximately caused by

that breach.     Western Investments, Inc. v. Urena, 162 S.W.3d 547,
550 (Tex. 2005). The ordinary duty of care is to use the degree of
care that a reasonably careful person would use to avoid harm to
others under the circumstances. Mitchell v. Missouri-Kansas-Texas
Railroad Co., 786 S.W.2d 659, 663 (Tex. 1990) (overruled on other
grounds, Union Pacific Railroad Co. v. Williams, 85 S.W.3d 162

(Tex. 2002)).     Foreseeability of the harm is the most important

factor in determining the existence of a duty.            Greater Houston

Transportation Co. v. Phillips, 801 S.W.2d 523, 526 (Tex. 1990).
Existence of a duty is a question of law, but whether the harm was
reasonably foreseeable may involve questions of fact.            Mitchell,

786 S.W.2d at 662.      If there are no disputed facts related to
foreseeability, the court may decide the issue.          Fugua v. Taylor,
683 S.W.2d 735, 737 (Tex. App.-Dallas 1984, writ ref'd n.r.e.).
     Plaintiff argues that Woodlake Travel breached a duty to
ensure that its travel agent provided competent,             correct,       and


    21 (
          continued)
           •••
on the same claim and standard as Woodlake's 12(b)(6) Motion, the
court will consider the arguments made in both sets of briefs.
    22
      Amended Notice of Removal, Docket Entry No. 11, p. 10             1   33;
Woodlake's 12(b)(6) Motion, Docket Entry No. 19, pp. 9, 11.
                                   -7-
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impartial information by recommending the Hotel. 23           But Plaintiff's

Original Petition lacks any allegations that the agent provided
incorrect or faulty information.              Woodlake Travel's only alleged
acts are that it "consulted" with Plaintiff and made his travel
arrangements. 24      Such vague allegations do not plausibly establish
a set of facts under which a reasonably prudent person would not
have recommended the Hotel.            A travel agency that books a trip
cannot be held liable for injuries caused by the negligence of
hotels or tour operators that it does not own or control.                      See
Tillman v.         Continental   Plaza Hotels      &   Resorts,   No.   Civ.   A.

H-99-3493,         20 0 0 WL 33250 0 7 2, at *3 ( S. D. Tex. Aug. 10 , 20 0 0 )

(collecting cases) .          Nor may it be held liable for negligent

failure to warn or negligent selection of a travel venue or service

absent knowledge of danger.            Id. at *4-5.       Because Plaintiff's
Original Petition does not allege facts showing that Woodlake
Travel knew of the danger or owned and controlled the Hotel or
Polynesian Escape,         the court concludes that Plaintiff has not
plausibly stated a claim for negligence against Woodlake Travel.
        Because Plaintiff has no plausible claim for relief against
Woodlake Travel, Defendants have met their burden to demonstrate
that Woodlake Travel's joinder as a defendant to the action was


        23
             Plaintiff's 12(b) (6) Response, Docket Entry No. 26, p. 11
� 11.

      Original Petition, Exhibit 1 to Notice of Removal, Docket
        24

Entry No. 1-1, p. 6.
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improper and does not defeat Hilton Worldwide's right to remove on

the basis of diversity jurisdiction.             It is not disputed that
Plaintiff is a citizen of Texas and that Hilton Worldwide is not a
citizen of Texas, and Plaintiff's complaint seeks monetary relief
in excess of $1,000,000. 25            The court may therefore exercise
diversity jurisdiction over Plaintiff's claims against Hilton
Worldwide, and accordingly Plaintiff's Motion to Remand will be
denied.
       Woodlake Travel seeks dismissal of the claims against it with
prejudice.26      But a "federal court never has diversity jurisdiction
over a claim against a nondiverse defendant."          International Energy

Ventures Management, L.L.C. v. United Energy Group, Ltd., 818 F.3d
193,    206     (5th   Cir.   2016).    While   the   court   has   diversity
jurisdiction over Plaintiff's claims against Hilton Worldwide, it
does not have jurisdiction to issue a judgment on the merits of
Plaintiff's claims against Woodlake Travel.           Woodlake Travel will
instead be dismissed          from the action without         prejudice,    and
Woodlake's 12(b)(6) Motion will be denied as moot.


                       III.   Hilton's 12(b) (2) Motion

       Hilton Worldwide argues that the claim against it should be
dismissed because the court lacks personal jurisdiction over it.


      Original Petition, Exhibit 1 to Notice of Removal, Docket
       25

Entry No. 1-1, pp. 4, 8; Amended Notice of Removal, Docket Entry
No. 11, p. 1 11 1-2.
       26   Woodlake's 12(b)(6) Motion, Docket Entry No. 19, p. 11.
                                       -9-
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Plaintiff responds that the court has personal jurisdiction because
(1) Hilton Worldwide is a global corporation that advertises in
Texas,    and    ( 2)   Texas residents have stayed at the           Hotel in
Bora Bora.

A.    Applicable Law

      The    court      may   exercise    personal    jurisdiction    over      a
nonresident defendant if "(1) the forum state's long-arm statute
confers personal jurisdiction over that defendant;               and (2)      the
exercise of personal jurisdiction comports with the Due Process
Clause of the Fourteenth Amendment."           McFadin v. Gerber, 587 F.3d
753, 759 (5th Cir. 2009), cert. denied,               131 S. Ct. 68    (2010).
Since the Texas long-arm statute extends as far as constitutional
due process allows, the court considers only the second step of the
inquiry.     Id.
      Federal due process permits personal jurisdiction over a
nonresident defendant that has "minimum contacts" with the forum
state, subject to the limit of not offending "traditional notions
of 'fair play and substantial justice.'"              Id.   The extent of the
contacts determines whether the court's jurisdiction is specific or
general.     Lewis v. Fresne, 252 F.3d 352, 358 (5th Cir. 2001).               A
court has general jurisdiction over a nonresident defendant "'to
hear any and all claims'" if that defendant's contacts with the
state are so continuous           and    systematic    "as to render       [that
defendant]      essentially at home in the forum."             Daimler AG     V.


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Bauman, 134 S. Ct. 746, 751 (2014) (quoting Goodyear Dunlop Tires

Operations, S.A. v. Brown, 131 S. Ct. 2846, 2851 (2011)).                    "The

'continuous and systematic contacts test is a difficult one to
meet,    requiring extensive contacts between a defendant and a
forum.'"     Johnston v. Multidata Systems International Corp., 523
F.3d 602, 609 (5th Cir. 2008) (quoting Submersible Systems. Inc. v.
Perforadora Central, S.A. de C.V., 249 F.3d 413, 419 (5th Cir.
2001)).
        "In contrast to general, all-purpose jurisdiction, specific
jurisdiction is confined to adjudication of 'issues deriving from,
or    connected    with,    the    very        controversy   that     establishes
jurisdiction.'"      Goodyear, 131 S. Ct. at 2851 (citations omitted).
A court asks "whether there was 'some act by which the defendant
purposefully avail[ed]        itself of the privilege           of conducting
activities within the forum State, thus invoking the benefits and
protections of its laws.'"        Id. at 2854 (quoting Hanson v. Denckla,
78 S. Ct. 1228, 1239 (1958)).           Specific jurisdiction exists "when
a nonresident defendant 'has purposefully directed its activities
at the forum state and the litigation results from alleged injuries
that arise out of or relate to those activities.'"                  Walk Haydel &
Associates. Inc. v. Coastal Power Production Co., 517 F.3d 235, 243
(5th Cir. 2008) (quoting Panda Brandywine Corp. v. Potomac Electric
Power Co.,     253 F.3d 865,      868    (5th Cir. 2001)).          Although the
defendant's contacts with the forum must be "more than 'random,
fortuitous, or attenuated, or                     the unilateral activity of

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another party or third person,'"                           even      "isolated or sporadic

contacts"    can support specific                        jurisdiction        "so   long   as the
plaintiff's claim relates to or arises out of those contacts."                                  ITL
International, Inc. v. Constenla , S.A., 669 F.3d 493, 498-99 (5th
Cir. 2012) (internal quotations omitted).
       Under Rule 12 (b) (2), "[w] hen the district court rules on a
motion to dismiss for                   lack    of personal jurisdiction 'without an
evidentiary       hearing,              the     plaintiff      may    bear     his    burden    by
presenting a prima                  facie       case    that   personal       jurisdiction is
proper.'"      Quick Technologies, Inc. v. Sage Group PLC, 313 F.3d
338, 343-344 (5th Cir. 2002) (quoting Wilson v. Belin, 20 F.3d 644,
648 (5th Cir. 1994)).                "Proof by a preponderance of the evidence is
not required."            Johnston, 523 F.3d at 609                       (citing Bullion v.

Gillespie, 895 F.2d 213, 217 (5th Cir. 1990)).                            In deciding whether

personal jurisdiction exists, " [t]he district court may receive
' any combination of the recognized methods of discovery,' incl uding
affidavits, interrogatories, and depositions to assist it in the
jurisdictional       analysis."                Little v. SKF Sverige AB, Civil Action
No. H -13 -176 O , 2o14 WL 71o941, at * 2 (S.D. Tex. Feb. 24, 2014)
(quoting    �W�a=l=k=---�H=a�y�d=e=l,    517     F.3d     at   241).         "[U]ncontroverted
allegations in the plaintiff's complaint must be taken as true, and
conflicts between the facts contained in the parties' affidavits
must   be   resolved          in        the     plaintiff's       favor      for     purposes   of
determining whether             a    prima facie case for personal jurisdiction
exists."    Johnston, 523 F.3d at 609 (citation omitted).                                 But the

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district court is not required "to credit conclusory allegations,

even if uncontroverted."            Panda Brandywine, 253 F.3d at 869.

B.    Analysis

       1.     Plaintiff's Objection to Evidence
       The only evidence submitted by the parties as to personal

jurisdiction are the declarations of Vice President and Senior
Counsel       of     Hilton   Worldwide,      James   Smith,   and     Plaintiff. 27
Plaintiff requests that the court strike Smith's declaration
because it "purports to set forth facts which, Defendant alleges,
establish the absence of minimum contacts with the State of Texas,"
but "as shown in Plaintiff's Declaration                   . Hilton has availed
itself of the benefits of doing business in                     Texas." 28     This
objection          lacks   merit;   that     Plaintiff's    evidence     allegedly
contradicts Hilton Worldwide's evidence does not render the latter
irrelevant or inadmissable.

      2.     Alleged Facts and Evidence
      The facts alleged in Plaintiff's Original Petition and in the
declarations do not contradict one another.                The Original Petition
alleges that Plaintiff stayed in the Hotel located in Bora Bora and
operated by Hilton Worldwide and that Plaintiff was directed to the


      Declaration of James Smith, Exhibit 1 to Hilton's 12(b) (2)
      27

Motion, Docket Entry No. 4-1; Declaration of Rodney Engel,
Exhibit 1 to Plaintiff's 12(b) (2) Response, Docket Entry No. 18-1.
      28
           Plaintiff's 12(b) (2) Response, Docket Entry No. 18, p. 6 1 4.
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hike and suffered his injury in Bora Bora. 29                  The only alleged act
or omission that did not occur in Bora Bora is Woodlake Travel's
making the travel arrangements. 30               Plaintiff's declaration only
repeats these facts and explains in greater detail the process of
choosing      the    Hotel   when   consulting          with    Woodlake   Travel's
representative. 31       James Smith's declaration states that Hilton
Worldwide is organized under the laws of and has its principal
place of business in the United Kingdom. 32                Hilton Worldwide does
not maintain any place of business in Texas, own any property in
Texas, advertise in Texas, or otherwise do business in Texas. 33
Plaintiff's declaration does not contradict any of the facts stated
by James Smith.
     Hilton     Worldwide       argues    that    the    court    cannot   exercise
specific jurisdiction over it because none of the alleged acts and
omissions occurred in Texas. 34           Plaintiff responds that specific
jurisdiction is available because Hilton Worldwide is a "global
enterprise" that "intentionally markets itself in Texas" in order


      0riginal Petition, Exhibit 1 to Notice of Removal, Docket
     29

Entry No. 1-1, p. 6.
     30Id.
     31
       Declaration of Rodney Engel, Exhibit 1 to                       Plaintiff's
12(b) (2) Response, Docket Entry No. 18-1, pp. 1-2.
      Declaration of James Smith, Exhibit 1 to Hilton's 12(b) (2)
     32

Motion, Docket Entry No. 4-1, p. 2 1 4.
     33
          Id. at 2   11 s-10.
     34
          Hilton's 12(b) (2) Motion, Docket Entry No. 4, pp. 11-12.
                                         -14-
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to "reap the economic benefits" of Texas residents staying at its
properties.35           None of these factual assertions,          however,     are
supported by evidence or pleadings.              It is Plaintiff's burden to
establish a prima facie case for personal jurisdiction through his
pleadings and evidentiary submissions.               While this is not a heavy
burden, conclusory assertions in Plaintiff's response brief do not
suffice. The court concludes that Plaintiff has not established a
prima facie case that specific jurisdiction exists over Hilton
Worldwide in this action.
          Hilton Worldwide argues that the court does not have general
jurisdiction           over   it   because   Texas    is    not   its   place   of
incorporation or principal place of business.36               Plaintiff responds
that Hilton Worldwide engages in marketing in Texas that is so
continuous and systematic that general jurisdiction applies. 37
Again,          Plaintiff has provided no evidence and pled no factual
allegations that support this assertion.                   Moreover, the Supreme
Court has explicitly rejected the argument that a global business
operating "in many places" may "be deemed at home in all of them."
Daimler, 134 S. Ct. at 762 n.20.             Even if Plaintiff's assertion as
to Hilton Worldwide's advertising in Texas were true, it would not


          35
               Plaintiff's 12(b) (2) Response, Docket Entry No. 18, pp. 15-16
11 18-19.
          36
               Hilton's 12(b) (2) Motion, Docket Entry No. 4, pp. 12-13.
      37
               Plaintiff's 12(b) (2) Response, Docket Entry No. 18, pp. 16-17
1   20.
                                        -15-
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suffice to meet the high standards of the continuous-and-systematic
test.   The court concludes that Plaintiff has not established a
prima facie case that the court may exercise general jurisdiction
over Hilton Worldwide.
     Having concluded that Plaintiff has not established a prima
facie case for either specific or general jurisdiction, the court
will grant Hilton Worldwide's 12(b) (2) Motion to Dismiss for lack
of personal jurisdiction.         The court therefore need not consider
Hilton Worldwide's 12(b) motions to dismiss for lack of proper
service or forum non conveniens.

                        IV.     Conclusion and Order

     For the reasons explained above, the court concludes that
diversity jurisdiction exists over Plaintiff's claim against Hilton
Worldwide because the Plaintiff and Hilton Worldwide have diverse
citizenship,    the    amount    in    controversy      exceeds    $75,000,    and
Woodlake Travel was improperly joined to the action. Accordingly,

Plaintiff's Motion to Remand (Docket Entry No. 9) is DENIED, and

defendant    Woodlake    Travel       Service,   Inc.    will     be   dismissed.

Defendant Woodlake Travel Services, Inc.'s Motion to Dismiss Per
Federal Rule of Civil Procedure 12(b) (6) (Docket Entry No. 19) is

DENIED AS MOOT.

     While     the    court     has    subject-matter      jurisdiction       over
Plaintiff's claim against Hilton Worldwide, the court concludes
that Plaintiff has failed to present a prima facie case that
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personal jurisdiction over Hilton Worldwide exists.                 Accordingly,

Defendant Hilton Worldwide Manage Limited's Rule 12(b) (2)                     and

Rule 12(b) (5) Motion to Dismiss (Docket Entry No. 4) is GRANTED as

to   the   Rule   12(b) (2)    motion    and   DENIED   AS   MOOT    as   to   the

Rule 12(b) (5) motion.        Defendant Hilton Worldwide Manage Limited's

Rule 12(b) (3) Motion to Dismiss for Forum Non Conveniens (Docket

Entry No. 5) is DENIED AS MOOT.

       SIGNED at Houston, Texas, on this 10th day of September, 2020.




                                         SENIOR UNITED STATES DISTRICT JUDGE




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